

Matter of Bridges (2022 NY Slip Op 02334)





Matter of Bridges


2022 NY Slip Op 02334


Decided on April 7, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 7, 2022

PM-76-22
[*1]In the Matter of Kathleen Bridges, an Attorney. (Attorney Registration No. 5741145.)

Calendar Date:April 4, 2022

Before:Egan Jr., J.P., Pritzker, Ceresia, Fisher and McShan, JJ.

Kathleen Bridges, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kathleen Bridges was admitted to practice by this Court in 2020 and lists a business address in Washington, DC with the Office of Court Administration. Bridges now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Bridges' application.
Upon reading Bridges' affidavit sworn to March 4, 2022 and filed March 7, 2022, and upon reading the March 23, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Bridges is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Pritzker, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Kathleen Bridges' application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kathleen Bridges' name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kathleen Bridges is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Bridges is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kathleen Bridges shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








